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                               UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS


 K.O. and E.O., Jr., by and through their
 parents and next friends, E.O. and L.J.; and
 C.J., by and through his father and next friend
 F.C.,

                 Plaintiffs,                         Civil Action No. 4:20-12015-MRG

         v.

 United States of America,

                 Defendant.


                  JOINT STIPULATION CONCERNING CLASS CLAIMS

       The parties, through undersigned counsel, agree as follows:

       1)      Plaintiffs K.O. and E.O., Jr., by and through their parents and next friends, E.O.

and L.J., and Plaintiff C.J., by and through his father and next friend F.C., hereby stipulate that

they will not seek class certification under Fed. R. Civ. P. 23(e) in this case.

       2)      The named Plaintiffs will proceed with this action to pursue their claims on an

individual rather than a class-wide basis.

       3)      No class has been certified in this action. Therefore, neither court approval nor

notice to putative class members is required. See Fed. R. Civ. P. 23(e)(1) (Rule 23(e) applies

only to “a certified class—or a class proposed to be certified for purposes of settlement”). See

also Adams v. USAA Casualty Ins. Co., 863 F.3d 1069, 1082 (8th Cir. 2017); Jackson v.

Innovative Secs. Servs., LLC, 283 F.R.D. 13, 15 (D.D.C. 2012).
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Dated: May 11, 2023

                                      Respectfully submitted,

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United States Attorney                their parents and next friends, E.O. and L.J.; F.C.,
                                      and C.J by and through his father and next friend
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                                CERTIFICATE OF SERVICE

        I, Lauren A. Maynard, hereby certify that this document has been filed through the ECF
system, will be sent electronically to the registered participants as identified on the Notice of
Electronic Filing (NEF) and paper copies will be sent to those indicated as non-registered
participants on this date.


                                                     /s/ Lauren A. Maynard
                                                     Lauren A. Maynard
Dated: May 11, 2023
